                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                               Eastern Division

Equal Employment Opportunity Commission
                                                 Plaintiff,
v.                                                            Case No.: 1:24−cv−08910
                                                              Honorable Andrea R. Wood
Reggio's Pizza, Inc.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 18, 2025:


        MINUTE entry before the Honorable Andrea R. Wood: Plaintiff EEOC's motion
to dismiss EEOC litigation [20] is set for a telephonic motion hearing on 3/5/2025 at 9:00
AM. The Court directs the Aggrieved Individual referenced in the Complaint to appear for
the motion hearing, personally or through counsel, to provide her position on the motion
and to inform the Court whether she intends to intervene. Plaintiff EEOC's counsel shall
ensure that the Aggrieved Individual receives actual notice of this order. To ensure public
access to court proceedings, members of the public and media may call in to listen to
telephonic hearings. The call−in number is (650) 479−3207 and the access code is
1808131170. Counsel of record will receive an email 30 minutes prior to the start of the
telephonic hearing with instructions to join the call. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court−issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. Mailed notice (lma, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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